          19-12341-jlg              Doc 2          Filed 07/23/19 Entered 07/23/19 14:51:20                                     Ch 7 First Mtg
                                                         Corp No POC Pg 1 of 2
Information to identify the case:
Debtor
               Milliore Fashion, Inc.                                                          EIN:   26−0538739
               Name

United States Bankruptcy Court      Southern District of New York                              Date case filed for chapter:          7      7/20/19

Case number:       19−12341−jlg
Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case                                                                                                                          12/17



For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office and the office of the U.S. Trustee cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                       Milliore Fashion, Inc.

2. All other names used in the
   last 8 years
3. Address                                  250 West 39th Street
                                            New York, NY 10018

4. Debtor's attorney                        Steven Soulios                                                       Contact phone (212) 997−4500
                                            Ruta Soulios Stratis LLP                                             Email: ssoulios@lawnynj.com
   Name and address                         211 E. 43rd Street
                                            24th Floor
                                            New York, NY 10017

5. Bankruptcy trustee                       Yann Geron                                                           Contact phone (212) 209−3050
                                            Reitler Kailas & Rosenblatt LLC                                      Email: ygeron@reitlerlaw.com
   Name and address                         885 Third Avenue
                                            20th Floor
                                            New York, NY 10022

6. Bankruptcy clerk's office                One Bowling Green                                                    Office Hours: Monday − Friday 8:30 AM −
                                            New York, NY 10004−1408                                              5:00 PM
   Documents in this case may be
   filed at this address. You may
   inspect all records filed in this case   Clerk of the Bankruptcy Court:                                       Contact phone 212−668−2870
   at this office or online at              Vito Genna
                                                                                                                 Date: 7/23/19
   www.pacer.gov.

7. Meeting of creditors                     August 19, 2019 at 09:30 AM                                          Location:
   The debtor's representative must
   attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        Office of the United States Trustee,
   questioned under oath. Creditors         so, the date will be on the court docket.                            United States Bankruptcy Court, SDNY,
   may attend, but are not required to                                                                           One Bowling Green, Room 511, Fifth
   do so.                                                                                                        Floor, New York, NY 10004−1408

8. Proof of claim                           No property appears to be available to pay creditors. Therefore, other than claims secured by a security
                                            interest in the principal residence, please do not file a proof of claim now.

                                            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                            that you may file a proof of claim and stating the deadline.
                                            Deadline for holder(s) of a claim secured by a security interest in the      Filing deadline: 70 days after the
                                            principal residence pursuant to Rule 3002(c)(7)(A):                          order for relief is entered.

9. Creditors with a foreign                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.
          19-12341-jlg           Doc 2       Filed 07/23/19 Entered 07/23/19 14:51:20       Ch 7 First Mtg
                                                   Corp No POC Pg 2 of 2
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case                    page 1
